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                                   1                                       UNITED STATES DISTRICT COURT

                                   2                                   NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4           WhatsApp Inc., et al.,                              Case No. 4:19-cv-07123-PJH
                                                           Plaintiff(s),
                                   5
                                                                                                   APPLICATION FOR ADMISSION OF
                                                   v.                                              ATTORNEY PRO HAC VICE
                                   6
                                                                                                   (CIVIL LOCAL RULE 11-3)
                                   7         NSO Group Technologies Ltd, et al.,
                                                           Defendant(s).
                                   8

                                   9

                                  10           I, John V. Coghlan                    , an active member in good standing of the bar of

                                  11    the District of Columbia                     , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: NSO Group Technologies Ltd.                        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Joseph N. Akrotirianakis                         , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     197971
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       801 Seventeenth Street, Suite 1100, Washington, DC 20006     633 West Fifth Street, Suite 1700, Los Angeles, CA 90071
                                  17    MY ADDRESS OF RECORD                                        LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (202) 249-6900                                              (213) 443-4435
                                        MY TELEPHONE # OF RECORD                                    LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       jcoghlan@torridonlaw.com                                    jakro@kslaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                                  LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 1020405                                .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application. I was last admitted pro hac vice in this Court in November 2023
                                  28   in case no. 3:23-cv-06133-JD.
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: February 18, 2025                                      /s/ John V. Coghlan
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of John V. Coghlan                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                         John Victor Coghlan
      was duly qualified and admitted on May 16, 2014 as an attorney and counselor entitled to
      practice before this Court; and is, on the date indicated below, an Active member in good
                                          standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                             Court at the City of
                                                                     Washington, D.C., on June 27, 2024.




                                                                           JULIO A. CASTILLO
                                                                            Clerk of the Court




                                                        Issued By:


                                                                        David Chu - Director, Membership
                                                                       District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
